           Case 1:19-cr-00018-ABJ Document 46-1 Filed 02/26/19 Page 1 of 1                                         I
                                                                                                                   I
From:
To:
Subject:             RE: In custody
                                                                                                                   I
Date:                Friday, January 25, 2019 6: 18:06 AM



    Media notice is out. Once we have the judge, time, and courtroom for the initial appearance, can someone let
                                                                                                                   I
me know? Thanks.

    Thx,
    Peter

    - - - ~ essage-----
From: - -@jmd.usdoj .gov>
Sent: Friday, January 25, 2019 6:1 0 AM
To:               @jmd.usdoj.gov>;-               md.usdoj.gov>;       @jmd.usdoj.gov>;-
       jmd.usdoj.gov>;                jmd.usdoj.gov>;            @jmd.usdoj.gov>; -
       @jmd.usdoj.gov>;               @jmd.usdoj.gov>
Subject: ln custody

    Media is here.
